 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Flame LLC


    2. All other names debtor used                Jant Transport LLC
       in the last 8 years
                                                  Flame Freight, LLC
     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8       2 – 5    4   6    0   8    5   4
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   23056 Witte Road SE,
                                                   Number          Street                                      Number        Street

                                                   Maple Valley, WA 98038
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   King                                                        place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     www.flamefreight.com


    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
Debtor      Flame LLC                                                                                           Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4      8     4     1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                       ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                              business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if all of these documents do not exist, follow the
                                                              procedure in 11 U.S.C. § 1116(1)(B).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                       ❑
                                                              proceed under Subchapter V of Chapter 11.
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor        Flame LLC                                                                                  Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                             ❑                                         ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
Debtor        Flame LLC                                                                                        Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     09/25/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Karandeep Pannu                                                               Karandeep Pannu
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                    CEO/President



         18. Signature of attorney
                                               ✘                    /s/ Joy Lee Barnhart                            Date      09/25/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Joy Lee Barnhart
                                                   Printed name


                                                    Law Office of Joy Lee Barnhart
                                                   Firm name


                                                    15 S. Grady Way 535
                                                   Number          Street


                                                    Renton                                                             WA              98057
                                                   City                                                               State            ZIP Code



                                                    (425) 255-5609                                                      joylee@joybarnhart.com
                                                   Contact phone                                                       Email address



                                                    12250                                                               WA
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                             .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                              $1,707,001.00
                 b. Total debts (including debts listed in 2.c., below)                                                       $2,867,916.05
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock


                Comments, if any:




                3. Brief description of debtor's business




                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
 Fill in this information to identify the case:

 Debtor name                                  Flame LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Crossroads Finance                                                      truck and trailer       Disputed                                                    $372,251.00
      9385 Haven Avenue                                                       surrender               Unliquidated
      Rancho Cucamonga, CA 91730


2     Midland State Bank                                                      vehicle                                                                             $348,566.00
      5403 Olupic Dr NW #200                                                  surrendered
      Gig Harbor, WA 98335


3     Paccar                                                                                                                                                      $250,000.00
      DEPT 1166
      PO Box 121166
      Dallas, TX 75312-1166

4     Paccar                                                                                                                                                      $136,962.00
      DEPT 1166
      PO Box 121166
      Dallas, TX 75312-1166

5     Paccar                                                                                                                                                      $122,684.00
      DEPT 1166
      PO Box 121166
      Dallas, TX 75312-1166

6     Pawnee Leasing Corporation                                                                      Disputed                                                    $111,290.29
      3801 Automation Way Unit 207                                                                    Unliquidated
      Fort Collins, CO 80525


7     PNC Equipment Finance                                                                                                                                       $101,204.00
      655 Business Center Drive Suite
      250
      Horsham, PA 19044

8     Key Bank N.A.                                                           line of credit                                                                       $98,068.00
      Mail Code OH-01-51-0562
      4910 Tiedeman Rd
      Brooklyn, OH 44144



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
Debtor       Flame LLC                                                                                        Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     American Express                                                    Credit Card                                                                      $70,000.00
      Attn: Bankruptcy Dept
      200 Vesey St
      New York, NY 10285-1000

10 Key Bank N.A.                                                          purchase money                                $82,165.00       $42,000.00        $40,165.00
   Mail Code OH-01-51-0562
   4910 Tiedeman Rd
   Brooklyn, OH 44144

11 BMO Bank N.A.                                                                                                      $149,255.00       $152,000.00        $29,851.00
   Attn: Bankruptcy Dept
   320 S Canal St
   Chicago, IL 60606

12 Bank of America                                                        Credit Card                                                                      $25,000.00
   Attn: Bankruptcy Dept
   100 North Tryon Street
   Charlotte, NC 28255

13 Samsura                                                                                                                                                 $18,000.00
   1990 Alameda Street
   San Francisco, CA 94103


14 Comdata                                                                Fuel Vendor                                                                      $14,340.76
   5301 Maryland Way
   Brentwood, TN 37027


15 JP Morgan Chase Bank                                                   credit card and line                                                             $10,000.00
   Attn: Bankruptcy Department                                            of credit
   270 Park Ave
   New York, NY 10017-2014

16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
 Fill in this information to identify the case:

  Debtor Name       Flame LLC

  United States Bankruptcy Court for the:                Western             District of   Washington
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Bank of America                                      Checking account                        4    3    2    9                              $5,000.00

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                       $5,000.00
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    MV Industrial LLC, Security Deposit with Landlord                                                                                       $90,000.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
Debtor           Flame LLC                                                                                Case number (if known)
                 Name




 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
                                                                                                                                                   $90,000.00
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:        Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:               $15,000.00              -               $15,000.00                      ➔
                                                                                                                 =.....                              $15,000.00
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
                                                                                                                                                   $15,000.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:        Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
Debtor          Flame LLC                                                                          Case number (if known)
                Name




         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:         Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies

         parts for vehicles                                                                  unknown                                           $10,000.00
                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                             $10,000.00
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
Debtor         Flame LLC                                                                          Case number (if known)
              Name




         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 39.     Office furniture



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
Debtor          Flame LLC                                                                            Case number (if known)
                Name




         office funriture including 6 tables/computer desks, desk
         chairs, Refrigerator,                                                                 unknown                                           $7,500.00


 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         electronic equipment including 5 computers/laptops, 20
         tablets, 4 phones, copier, printers, shredder, TV and
         monitors                                                                              unknown                                          $10,000.00

         tools for vehicle repairs including totes, and jacks                                  unknown                                          $25,000.00


 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                              $42,500.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 2013 Volvo VNL 200 / VIN: 4V4M99EH3DN145590                                      unknown                                          $20,000.00

         47.2 2016 Freightliner Cascadia 125 / VIN:                                            unknown                                          $32,000.00
                3AKJGLDR6GSGX0512


         47.3 2019 Kenworth T680 / VIN: 1XKYD49X2KJ220644                                      unknown                                          $42,000.00

         47.4 2017 Kenworth T680 / VIN: 1XKZD49X2HJ144095                                      unknown                                          $30,000.00



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
Debtor          Flame LLC                                                               Case number (if known)
                Name




         47.5 2010 Kenworth T680 / VIN: 1XKAD49X5AJ272561                            unknown                     $14,500.00


         47.6 2017 Kenworth T680 / VIN: 1XKYD49X2HJ129057                            unknown                     $30,000.00


         47.7 2017 Kenworth T680 / VIN: 1XKAD49X5AJ272561                            unknown                     $30,000.00


         47.8 2022 Toyota Tacoma                                                     unknown                     $33,000.00


         47.9 1998 Toyota Tacoma                                                     unknown                      $3,000.00


         47.102007 Great Dane / VIN: 1GRAA06287J621295                               unknown                      $7,000.00


         47.112014 WABASH / VIN: 1JJV532D0EL795931                                   unknown                     $11,000.00


         47.122015 WABASH / VIN: 1JJV532D4FL867005                                   unknown                     $14,000.00


         47.132015 WABASH / VIN: 1JJV532D2FL866290                                   unknown                     $14,000.00

         47.142017 WABASH / VIN: 1JJV532D5HL017449                                   unknown                     $25,500.00

         47.152017 WABASH / VIN: 1JJV532D6HL017623                                   unknown                     $25,500.00

         47.162007 WABASH / VIN: 1JJV532W17L026200                                   unknown                     $10,000.00


         47.172017 WABASH / VIN: 1JJV532D9FL892059                                   unknown                     $25,500.00


         47.182022 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $23,000.00
                3H3V532K4NS018057


         47.192013 WABASH / VIN: 1JJV532D7DL711909                                   unknown                     $12,000.00


         47.202014 WABASH / VIN: 1JJV532D6EL796226                                   unknown                     $13,000.00


         47.212023 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $38,000.00
                3H3V532K9PS065152


         47.222017 WABASH / VIN: 1JJV532DXHL017527                                   unknown                     $15,000.00

         47.232023 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $38,000.00
                3H3V532K7PS065151


         47.242023 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $38,000.00
                3H3V532K0PS065153


         47.252023 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $38,000.00
                3H3V532K4PS065155


         47.262023 HYUNDAI HT COMPOSITE / VIN:                                       unknown                     $38,000.00
                3H3V532K2PS065154


         47.272016 WABASH / VIN: 1JJV532D0GL938993                                   unknown                     $16,000.00

         47.282007 Great Dane / VIN: 1GRAA06217J621218                               unknown                      $7,000.00


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2
Official Form 206A/B   Schedule A/B: Assets — Real and Personal Property   page 6
Debtor          Flame LLC                                                                             Case number (if known)
                Name




 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
                                                                                                                                               $643,000.00
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:          Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 Office and yard for vehicles /                   Lease                            unknown                                             unknown
                23056 Witte Road SE Maple Valley, WA
                98038


         55.2 2110 - 136th Ave E Sumner, WA                    Fee Simple                       unknown                                          $900,000.00
                98390


 56.     Total of Part 9
                                                                                                                                               $900,000.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ❑ No
         ✔ Yes
         ❑
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
Debtor         Flame LLC                                                                              Case number (if known)
              Name




 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites

         flamefreight.com                                                                       unknown                                               $500.00


 62.     Licenses, franchises, and royalties

         Motor Carrier Authority, US Dept of Transportation                                     unknown                                               $500.00

         United Carrier Transportation, State of WA                                             unknown                                               $500.00


 63.     Customer lists, mailing lists, or other compilations

         Customer lists                                                                         unknown                                                    $1.00


 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
                                                                                                                                                  $1,501.00
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 8
Debtor         Flame LLC                                                                            Case number (if known)
               Name




 71.     Notes receivable

         Description (include name of obligor)

                                                                                   –                                         =   ➔
                                                               Total face amount       doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                      Tax year

                                                                                                      Tax year

                                                                                                      Tax year


 73.     Interests in insurance policies or annuities

         Business, property and vehicle insurance                                                                                     $0.00


 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                            page 9
Debtor           Flame LLC                                                                                                           Case number (if known)
                Name




  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                      Current value of                           Current value
                                                                                                               personal property                          of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                     $5,000.00

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                       $90,000.00

 82.     Accounts receivable. Copy line 12, Part 3.                                                                           $15,000.00

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                     $10,000.00

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                              $42,500.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                          $643,000.00


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                    $900,000.00


 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                          $1,501.00

 90.     All other assets. Copy line 78, Part 11.                                                         +                              $0.00


 91.     Total. Add lines 80 through 90 for each column............................91a.                                    $807,001.00           + 91b.       $900,000.00



 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $1,707,001.00




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                              page 10
 Fill in this information to identify the case:

     Debtor name     Flame LLC

     United States Bankruptcy Court for the:                 Western                 District of      Washington
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         BMO Bank N.A.                                       2023 HYUNDAI HT COMPOSITE, 2023 HYUNDAI HT                               $149,255.00                $152,000.00
                                                             COMPOSITE, 2023 HYUNDAI HT COMPOSITE, 2023
        Creditor’s mailing address                           HYUNDAI HT COMPOSITE
         Attn: Bankruptcy Dept                               Describe the lien
         320 S Canal St
         Chicago, IL 60606                                   Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
        Creditor’s email address, if known
                                                             ❑ Yes
                                                             Is anyone else liable on this claim?
        Date debt was incurred                               ✔ No
                                                             ❑
        Last 4 digits of account
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        number
                                                             As of the petition filing date, the claim is:
        Do multiple creditors have an interest in            Check all that apply.
        the same property?                                   ❑ Contingent
        ✔ No
        ❑                                                    ❑ Unliquidated
        ❑ Yes. Specify each creditor, including this         ❑ Disputed
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $1,189,550.00
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
Debtor       Flame LLC                                                                             Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      BMO Bank N.A.                                   2014 WABASH, 2023 HYUNDAI HT COMPOSITE                                     $16,165.00           $49,000.00

     Creditor’s mailing address                       Describe the lien

      Attn: Bankruptcy Dept
      320 S Canal St                                  Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
      Chicago, IL 60606
                                                      ❑ Yes
     Creditor’s email address, if known               Is anyone else liable on this claim?
                                                      ✔ No
                                                      ❑
     Date debt was incurred
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      As of the petition filing date, the claim is:
     Last 4 digits of account
                                                      Check all that apply.
     number
                                                      ❑ Contingent
     Do multiple creditors have an interest in        ❑ Unliquidated
                                                      ❑ Disputed
     the same property?
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 6
Debtor       Flame LLC                                                                             Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.3 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      JP Morgan Chase Bank                            2022 Toyota Tacoma                                                         $28,000.00           $33,000.00

     Creditor’s mailing address                       Describe the lien

      Attn: Bankruptcy Department
      270 Park Ave                                    Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
      New York, NY 10017-2014
                                                      ❑ Yes
     Creditor’s email address, if known               Is anyone else liable on this claim?
                                                      ✔ No
                                                      ❑
     Date debt was incurred
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      As of the petition filing date, the claim is:
     Last 4 digits of account
                                                      Check all that apply.
     number
                                                      ❑ Contingent
     Do multiple creditors have an interest in        ❑ Unliquidated
                                                      ❑ Disputed
     the same property?
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 6
Debtor       Flame LLC                                                                             Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.4 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      Key Bank N.A.                                   2019 Kenworth T680                                                         $82,165.00           $42,000.00

     Creditor’s mailing address                       Describe the lien

      Mail Code OH-01-51-0562                         purchase money

      4910 Tiedeman Rd                                Is the creditor an insider or related party?

      Brooklyn, OH 44144
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Creditor’s email address, if known               Is anyone else liable on this claim?
                                                      ✔ No
                                                      ❑
     Date debt was incurred                           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Last 4 digits of account                         As of the petition filing date, the claim is:
                                                      Check all that apply.
     number
                                                      ❑ Contingent
     Do multiple creditors have an interest in
     the same property?
                                                      ❑ Unliquidated
                                                      ❑ Disputed
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 4 of 6
Debtor       Flame LLC                                                                             Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.5 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      Key Bank N.A.                                   2022 HYUNDAI HT COMPOSITE                                                  $13,965.00           $23,000.00

     Creditor’s mailing address                       Describe the lien

      Mail Code OH-01-51-0562
      4910 Tiedeman Rd                                Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
      Brooklyn, OH 44144
                                                      ❑ Yes
     Creditor’s email address, if known               Is anyone else liable on this claim?
                                                      ✔ No
                                                      ❑
     Date debt was incurred
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      As of the petition filing date, the claim is:
     Last 4 digits of account
                                                      Check all that apply.
     number
                                                      ❑ Contingent
     Do multiple creditors have an interest in        ❑ Unliquidated
                                                      ❑ Disputed
     the same property?
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 5 of 6
Debtor       Flame LLC                                                                             Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.6 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      ReadyCap Lending LLC                            2110 - 136th Ave E Sumner, WA 98390, Customer lists,                     $900,000.00          $972,501.00
                                                      Accounts paying over time, electronic equipment
     Creditor’s mailing address                       including 5 computers/laptops, 20 tablets, 4 phones,
                                                      copier, printers, shredder, TV and monitors, Bank of
      200 Connell Drive 4000                          America, office funriture including 6 tables/computer
      Berkeley Heigts, NJ 07922                       desks, desk chairs, Refrigerator, , parts for vehicles,
                                                      tools for vehicle repairs including totes, and jacks
     Creditor’s email address, if known
                                                      Describe the lien


     Date debt was incurred
                                                      Is the creditor an insider or related party?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes
     Do multiple creditors have an interest in        Is anyone else liable on this claim?
     the same property?                               ❑ No
     ✔ No
     ❑                                                ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     ❑ Yes. Have you already specified the
              relative priority?                      As of the petition filing date, the claim is:
         ❑ No. Specify each creditor, including
                                                      Check all that apply.

                  this creditor, and its relative     ❑ Contingent
                  priority.                           ❑ Unliquidated
                                                      ❑ Disputed

         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 6 of 6
 Fill in this information to identify the case:

 Debtor name                                  Flame LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      $0.00                         $0.00
                                                           Check all that apply.
                                                           ❑ Contingent
       IRS
       Centralized Insolvency Op                           ❑ Unliquidated
       Po Box 7346                                         ❑ Disputed
       Philadelphia, PA 19101-7346                         Basis for the Claim:

       Date or dates debt was incurred                      Notice Only

                                                           Is the claim subject to offset?
                                                           ✔ No
                                                           ❑
       Last 4 digits of account                            ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Notice Only

2.2 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      $0.00                         $0.00
                                                           Check all that apply.
                                                           ❑ Contingent
       Washington State Department of
       Revenue
                                                           ❑ Unliquidated
       Attn: Bankruptcy Unit                               ❑ Disputed
       2101 4th Ave, Suite 1400
                                                           Basis for the Claim:
       Seattle, WA 98121                                    Notice Only
       Date or dates debt was incurred
                                                           Is the claim subject to offset?
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Notice Only




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 9
Debtor        Flame LLC                                                                                       Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Alliance Funding

       Bankruptcy Dept                                                      ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       17542 E 17th St Ste 200
                                                                            Basis for the claim:
       Tustin, CA 92780
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $70,000.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       American Express

       Attn: Bankruptcy Dept                                                ❑ Unliquidated
                                                                            ❑ Disputed
       200 Vesey St
                                                                            Basis for the claim: Credit Card
       New York, NY 10285-1000
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Amur Equipment Finance

       304 W. 3rd St                                                        ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Grand Island, NE 68801
                                                                            Basis for the claim: Equipment loan
                                                                            Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $25,000.00
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       Bank of America

       Attn: Bankruptcy Dept                                                ❑ Unliquidated
                                                                            ❑ Disputed
       100 North Tryon Street
                                                                            Basis for the claim: Credit Card
       Charlotte, NC 28255
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 9
Debtor      Flame LLC                                                                                    Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $14,340.76
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Comdata

      5301 Maryland Way                                                ❑ Unliquidated
      Brentwood, TN 37027
                                                                       ❑ Disputed
                                                                       Basis for the claim: Fuel Vendor
                                                                       Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $372,251.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Crossroads Finance

      9385 Haven Avenue                                                ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
      Rancho Cucamonga, CA 91730
                                                                                             truck and trailer
                                                                       Basis for the claim: surrender
      Date or dates debt was incurred
                                                                       Is the claim subject to offset?
      Last 4 digits of account number                                  ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
      CT Corporations System

      Attn: SPRS                                                       ❑ Unliquidated
                                                                       ✔ Disputed
                                                                       ❑
      330 N Brand Blvd 700
                                                                                            UCC filing without
      90203                                                                                 identifying secured
                                                                       Basis for the claim: party
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.8                                                                    Check all that apply.
                                                                       ❑ Contingent
      First Corporate Solutions

      As Representative for                                            ❑ Unliquidated
      Unknown Creditor                                                 ✔ Disputed
                                                                       ❑
                                                                                            UCC filed without
      914 S Street
                                                                                            secured parties name
      Sacramento, CA 95811                                                                  or identification of
                                                                       Basis for the claim: claimed collateral
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       page 3 of 9
Debtor        Flame LLC                                                                                  Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         JP Morgan Chase Bank

         Attn: Bankruptcy Department                                   ❑ Unliquidated
                                                                       ❑ Disputed
         270 Park Ave
                                                                                              credit card and line of
         New York, NY 10017-2014                                       Basis for the claim: credit
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $98,068.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Key Bank N.A.

         Mail Code OH-01-51-0562                                       ❑ Unliquidated
                                                                       ❑ Disputed
         4910 Tiedeman Rd
                                                                       Basis for the claim: line of credit
         Brooklyn, OH 44144
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $348,566.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Midland State Bank

         5403 Olupic Dr NW #200                                        ❑ Unliquidated
         Gig Harbor, WA 98335
                                                                       ❑ Disputed
                                                                       Basis for the claim: vehicle surrendered
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $122,684.00
3.12                                                                   Check all that apply.
                                                                       ❑ Contingent
         Paccar

         DEPT 1166                                                     ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 121166
                                                                       Basis for the claim:
         Dallas, TX 75312-1166
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4 of 9
Debtor        Flame LLC                                                                                  Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $250,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Paccar

         DEPT 1166                                                     ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 121166
                                                                       Basis for the claim:
         Dallas, TX 75312-1166
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $136,962.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Paccar

         DEPT 1166                                                     ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 121166
                                                                       Basis for the claim:
         Dallas, TX 75312-1166
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $111,290.29
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Pawnee Leasing Corporation

         3801 Automation Way Unit 207                                  ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Fort Collins, CO 80525
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $101,204.00
3.16                                                                   Check all that apply.
                                                                       ❑ Contingent
         PNC Equipment Finance

         655 Business Center Drive Suite 250                           ❑ Unliquidated
         Horsham, PA 19044
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 9
Debtor        Flame LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $18,000.00
                                                                   Check all that apply.
                                                                   ❑ Contingent
         Samsura

         1990 Alameda Street                                       ❑ Unliquidated
         San Francisco, CA 94103
                                                                   ❑ Disputed
                                                                   Basis for the claim:
         Date or dates debt was incurred                           Is the claim subject to offset?
                                                                   ✔ No
                                                                   ❑
         Last 4 digits of account number                           ❑ Yes
3.18 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
                                                                   Check all that apply.
                                                                   ❑ Contingent
         Santinder Singh
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
                                                                   Basis for the claim: Lawsuit
                                                                   Is the claim subject to offset?
         Date or dates debt was incurred
                                                                   ✔ No
                                                                   ❑
         Last 4 digits of account number                           ❑ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 9
Debtor        Flame LLC                                                                                       Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Benjamin Kelly                                                              Line 3.15

         9218 Roosevelt Way NE                                                       ❑ Not listed. Explain
         Seattle, WA 98115

 4.2     Corporation Service Company,                                                Line 3.1

         Representing Alliance Funding Group                                         ❑ Not listed. Explain
         P.O. 2576
         Springfield, IL 62703

 4.3     CT Corporations System                                                      Line 3.8

         Attn: SPRS                                                                  ❑ Not listed. Explain
         330 N Brand Blvd 700
         90203

 4.4     David B Schumacher                                                          Line 3.3

         3519 NE 15th Ave, Ste 142                                                   ❑ Not listed. Explain
         Attorney at Law
         Portland, OR 97212

 4.5     Lane Powell PC                                                              Line 3.1

         Attorneys at Law                                                            ❑ Not listed. Explain
         P.O. Box 91302
         Seattle, WA 98111

 4.6     Liam Brannon                                                                Line 3.6

         Bullivant Houser Bailey                                                     ❑ Not listed. Explain
         925 Fourth Ave 3800
         98104

 4.7     Rocke Law Group PLLC                                                        Line 3.18

         Attorneys at Law                                                            ❑ Not listed. Explain
         500 Union Street 909
         Seattle, WA 98101




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 7 of 9
Debtor      Flame LLC                                                          Case number (if known)
            Name

 Part 3: Additional Page

 4.8     Zwicker & Associates                          Line 3.2

         Attorneys at Law                              ❑ Not listed. Explain
         12550 SE 93rd AVE 430
         Clackamas, OR 97015




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                      page 8 of 9
Debtor       Flame LLC                                                                            Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $1,678,366.05



  5c. Total of Parts 1 and 2                                                       5c.              $1,678,366.05
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 9 of 9
 Fill in this information to identify the case:

 Debtor name                                  Flame LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                     Chapter    11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Equipment and Vehicles                       Alliance Funding
2.1    lease is for and the nature
       of the debtor’s interest                                                           Bankruptcy Dept
                                             Contract to be REJECTED
                                                                                          17542 E 17th St Ste 200
       State the term remaining              0 months
                                                                                          Tustin, CA 92780
       List the contract number of
       any government contract

       State what the contract or
                                             vehicle lease                                Amur Equipment Finance
2.2    lease is for and the nature
       of the debtor’s interest                                                           304 W. 3rd St
                                             Contract to be REJECTED
                                                                                          Grand Island, NE 68801
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Lease for business premises                  MV Industrial LLC
2.3    lease is for and the nature
       of the debtor’s interest                                                           26250 – 238th Lane SE 101
                                             Contract to be ASSUMED
                                                                                          Maple Valley, WA 98038
       State the term remaining              20 months

       List the contract number of
       any government contract

       State what the contract or
                                             vehicle lease                                Pawnee Leasing Corporation
2.4    lease is for and the nature
       of the debtor’s interest                                                           3801 Automation Way Unit 207
                                             Contract to be REJECTED
                                                                                          Fort Collins, CO 80525
       State the term remaining              0 months

       List the contract number of
       any government contract




Official Form 206G                                    Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
 Fill in this information to identify the case:

  Debtor name          Flame LLC


  United States Bankruptcy Court for the:              Western             District of      Washington
                                                                                         (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                              Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                              Name
                                                                                                                                      that apply:

 2.1     Manvir Kaur                         30359 11th Court SE                                         IRS                          ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                         ReadyCap Lending             ✔D
                                                                                                                                      ❑
                                             Auburn, WA 98092
                                                                                                         LLC                          ❑ E/F
                                            City                   State                  ZIP Code
                                                                                                                                      ❑G

 2.2     Pannu, Karandeep                    30359 111th Court SE                                        IRS                          ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                         ReadyCap Lending             ✔D
                                                                                                                                      ❑
                                             Auburn, WA 98092
                                                                                                         LLC                          ❑ E/F
                                            City                   State                  ZIP Code
                                                                                                                                      ❑G
 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code




Official Form 206H                                                  Schedule H: Codebtors                                                      page 1 of    2
Debtor       Flame LLC                                                                    Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
 Fill in this information to identify the case:

 Debtor name                                                   Flame LLC

 United States Bankruptcy Court for the:
                                  Western District of Washington

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                      $900,000.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $807,001.00
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                  $1,707,001.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                  $1,189,550.00


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +      $1,678,366.05




 4. Total liabilities..............................................................................................................................................................................               $2,867,916.05
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
 Fill in this information to identify the case:

 Debtor name                                  Flame LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     09/25/2024
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Karandeep Pannu
                                                                                Signature of individual signing on behalf of debtor


                                                                                 Karandeep Pannu
                                                                                Printed name


                                                                                 CEO/President
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
 Fill in this information to identify the case:

 Debtor name                                  Flame LLC

 United States Bankruptcy Court for the:
                          Western District of Washington

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                 $2,369,846.12
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                 $6,421,480.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                 $3,669,532.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ❑ None
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022        rental income                                          $3,000.00
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor           Flame LLC                                                                                  Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Progressive Insurance                            08/30/2024                 $11,641.14            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        6300 Wilson Mills Rd                                                                              ❑ Suppliers or vendors
        Street
                                                                                                          ✔ Services
                                                                                                          ❑
        Attn: Bankruptcy Dept
                                                                                                          ❑ Other
        Mayfield Vlg, OH 44143-2109
        City                       State    ZIP Code

 3.2.   Navigators Insurance                                                        $11,203.00            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        2721 4th Ave                                                                                      ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Insurance
                                                                                                          ❑
        Seattle, WA 98121
        City                       State    ZIP Code

 3.3.   Western National Insurance                                                  $11,203.00            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        9706 4th Ave NE #200                                                                              ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Insurance
                                                                                                          ❑
        Seattle, WA 98115
        City                       State    ZIP Code

 3.4.   Ready Capital                                    July                       $29,100.00            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        1251 Avenue of the Americas                      August                                           ❑ Suppliers or vendors
        Street
                                                         September
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        New York, NY 10020
        City                       State    ZIP Code

 3.5.   Key Bank N.a.                                    July                       $30,761.00            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        4910 Tiedeman Rd                                 August                                           ❑ Suppliers or vendors
        Street
                                                         September
                                                                                                          ❑ Services
        Mail Code OH-01-51-0562
                                                                                                          ❑ Other
        Brooklyn, OH 44144
        City                       State    ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
Debtor           Flame LLC                                                                                       Case number (if known)
                 Name


 3.6.   BMO Bank N.A.                                       July                        $17,603.82             ✔ Secured debt
                                                                                                               ❑
        Creditor's name                                                                                        ❑ Unsecured loan repayments
        320 S Canal St                                      August                                             ❑ Suppliers or vendors
        Street
                                                            September
                                                                                                               ❑ Services
        Attn: Bankruptcy Dept
                                                                                                               ❑ Other
        Chicago, IL 60606
        City                        State    ZIP Code

 3.7.   MV Industrial LLC                                   July                        $72,900.00             ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
        26250 – 238th Lane SE 101                           August                                             ❑ Suppliers or vendors
        Street
                                                                                                               ❑ Services
                                                                                                               ✔ Other Lease
                                                            September
                                                                                                               ❑
        Maple Valley, WA 98038
        City                        State    ZIP Code

 3.8.   MDK Law                                             July                         $9,000.00             ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
        777 108th Ave NE Suite 2000 Floor 20                                                                   ❑ Suppliers or vendors
        Street
                                                                                                               ✔ Services
                                                                                                               ❑
                                                                                                               ❑ Other
        Bellevue, WA 98004
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.   Pannu, Karandeep                                    last twelve               $168,000.00              Draw in lieu of salary; Mr. Pannu is
        Creditor's name                                     months                                             named personally in several of the
                                                                                                               lawsuits against the Debtor. He receives
        Street                                                                                                 some benefit from the legal fees paid by
                                                                                                               the Debtor in defending them.



        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ❑ None
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 3
Debtor           Flame LLC                                                                            Case number (if known)
                 Name

 5.1.   Alliance Funding                            2017 Wabash 53' Dry Van Trailer
        Creditor's name
        17542 E 17th St Ste 200
        Street
        Bankruptcy Dept
        Tustin, CA 92780
        City                    State   ZIP Code

 5.2.   Crossroads Equipment Lease &                3 x 2023 Hyundai Translead
        Finance                                     VC2530152-AJS Vans; 2022 Kenworth
        Creditor's name                             T680
        9385 Havan Ave
        Street



        Rancho Cucamonga, CA 91730
        City                    State   ZIP Code

 5.3.   Alliance Funding                            3x 2017 WABASH Dry Vans; 2x 2018
        Creditor's name                             WABASH Dry Vans
        17542 E 17th St Ste 200
        Street
        Bankruptcy Dept
        Tustin, CA 92780
        City                    State   ZIP Code

 5.4.   Crossroads Finance                          9x Dry Van HYUNDAI HT COMPOSITE
        Creditor's name                             2023
        9385 Haven Avenue
        Street



        Rancho Cucamonga, CA 91730
        City                    State   ZIP Code

 5.5.   Hyundai Translead                           5x Dry Van HYUNDAI HT COMPOSITE
        Creditor's name                             2016
        8880 Rio San Diego Drive Suite 600
        Street



        San Diego, CA 92108
        City                    State   ZIP Code

 5.6.   Midland Funding                             3x 2016 WABASH Dry Vans
        Creditor's name
        350 Camino De La Reina #100
        Street



        San Diego, CA 92108
        City                    State   ZIP Code

 5.7.   Paccar                                      2022 Kenworth T680
        Creditor's name
        PO Box 121166
        Street
        DEPT 1166
        Dallas, TX 75312-1166
        City                    State   ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy             page 4
Debtor           Flame LLC                                                                                        Case number (if known)
                 Name



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        American Express                        Collections                             King County Superior Court                            ❑ Pending
        National Bank v.                                                                Name
                                                                                                                                              ❑ On appeal
        Karandeep Pannu and
        Flame LLC
                                                                                        516 Third Avenue
                                                                                        Street
                                                                                                                                              ✔ Concluded
                                                                                                                                              ❑

         Case number                                                                    Seattle, WA 98104
                                                                                        City                         State     ZIP Code
        23-2-12410-3
 7.2.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Satinder Singh v. Flame                                                         King County Superior Court                            ✔ Pending
                                                                                                                                              ❑
        Freight LLC, Flame                                                              Name
                                                                                                                                              ❑ On appeal
        Repairs LLC, Karandeep
                                                                                                                                              ❑ Concluded
                                                                                        516 Third Avenue
        Pannu, Harmandeep                                                               Street
        Pannu, and Kamalpreet
        Singh
                                                                                        Seattle, WA 98104
                                                                                        City                         State     ZIP Code
         Case number

        23-2-20977-0
 7.3.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Amur Equipment Finance                  Collection                              King County Superior Court                            ✔ Pending
                                                                                                                                              ❑
        Inv v. Flame LLC,                                                               Name
                                                                                                                                              ❑ On appeal
        Karandeep Pannu and
                                                                                                                                              ❑ Concluded
                                                                                        516 Third Avenue
        Manvur Kuar                                                                     Street


         Case number                                                                    Seattle, WA 98104
                                                                                        City                         State     ZIP Code
        24-2-14764-1




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 5
Debtor       Flame LLC                                                                                         Case number (if known)
             Name
 7.4.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Crossroads Equipment                                                          King County Superior Court                          ✔ Pending
                                                                                                                                          ❑
        Lease and Finance LLC v                                                       Name
                                                                                                                                          ❑ On appeal
        Flame LLC, Karandeep
                                                                                                                                          ❑ Concluded
                                                                                      516 Third Avenue
        Pannu and Manvir Kaur                                                         Street


         Case number                                                                  Seattle, WA 98104
                                                                                      City                        State    ZIP Code
        24-2-11029-1
 7.5.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Alliance Funding Group v.                                                     King County Superior Court                          ✔ Pending
                                                                                                                                          ❑
        Flame LLC, Karandeep                                                          Name
                                                                                                                                          ❑ On appeal
        Pannu and Manvir Kaur
                                                                                                                                          ❑ Concluded
                                                                                      516 Third Avenue
                                                                                      Street

         Case number
                                                                                      Seattle, WA 98104
        24-2-06455-9                                                                  City                        State    ZIP Code

 7.6.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        PAWNEE LEASING                                                                King County Superior Court                          ✔ Pending
                                                                                                                                          ❑
        CORPORATION, v. Flame                                                         Name
                                                                                                                                          ❑ On appeal
        LLC, Karandeep Pannu
                                                                                                                                          ❑ Concluded
                                                                                      516 Third Avenue
        and Manvir Kaur                                                               Street


         Case number                                                                  Seattle, WA 98104
                                                                                      City                        State    ZIP Code
        24-2-08633-7
 7.7.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        KEYBANK NATIONAL                                                              King County Superior Court                          ✔ Pending
                                                                                                                                          ❑
        ASSOCIATION v. Flame                                                          Name
                                                                                                                                          ❑ On appeal
        LLC, Jant Transport LLC,
                                                                                                                                          ❑ Concluded
                                                                                      516 Third Avenue
        Flame Repair LLC,                                                             Street
        Karandeep Pannu and
        Manvir Kaur
                                                                                      Seattle, WA 98104
                                                                                      City                        State    ZIP Code
         Case number

        24-2-15410-8 KNT
 7.8.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

                                               Contractor claimed                     Workers' Right Complaint,                           ❑ Pending
                                               employee status and                    Washington State Dept Labor and                     ❑ On appeal
                                               wage loss. The Claim was               Industries
         Case number                           denied. Mr. Singh                      Name                                                ✔ Concluded
                                                                                                                                          ❑
                                               subsequently filed suit in
                                               King County Superior                   Street
                                               Court.


                                                                                      City                        State    ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑


Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 6
Debtor            Flame LLC                                                                                  Case number (if known)
                  Name
 8.1.     Custodian’s name and address                    Description of the property                       Value


         Custodian’s name
                                                          Case title                                        Court name and address
         Street
                                                                                                           Name

                                                          Case number
                                                                                                           Street
         City                       State      ZIP Code



                                                          Date of order or assignment                      City                            State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                     Description of the gifts or contributions                Dates given            Value


         Recipient’s name


         Street




         City                       State      ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ❑ None
           Description of the property lost and how the        Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                       If you have received payments to cover the loss, for                           lost
                                                               example, from insurance, government compensation,
                                                               or tort liability, list the total received.
                                                               List unpaid claims on Official Form 106A/B (Schedule
                                                               A/B: Assets – Real and Personal Property).


 10.1.    2017 Kenworth T880 was stolen                       Insurance paid $74,000 total including                     March 2024                $60,000.00
                                                              paying lender, Paccar $14060 in full
                                                              payment of lien
 10.2.    break in at Sumner property. Various                Insurance valued stolen goods at                           March 2024                $20,000.00
          electronics stored there were stolen.               $20,000 and paid that amount.




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7
Debtor            Flame LLC                                                                                      Case number (if known)
                  Name
 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Law Office of Joy Lee Barnhart                         Attorney's Fee                                            11/13/2023                   $5,000.00

          Address

         15 S. Grady Way 535
         Street



         Renton, WA 98057
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                         Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Debtor          Flame LLC                                                                                          Case number (if known)
                Name

 13.1.    Who received the transfer?                             Description of property transferred or payments           Date transfer      Total amount or
                                                                 received or debts paid in exchange                        was made           value

         Progressive Insurance                                  Title to stolen 2017 Kenworth T880 (see                   May 2024                   (Unknown)
                                                                question 10) was turned over to insurance
          Address
                                                                company for settlement of claim.

         6300 Wilson Mills Rd
         Street
         Attn: Bankruptcy Dept
         Mayfield Vlg, OH 44143-2109
         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                              Dates of occupancy

 14.1. P.O. Box 254                                                                                           From    2020             To present
         Street



         Auburn, WA 98042
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                             Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 9
Debtor           Flame LLC                                                                                      Case number (if known)
                 Name
 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
        ✔ No.
        ❑
        ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
        ✔ No. Go to Part 10.
        ❑
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                 Employer identification number of the plan

                                                                                                    EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                          number                                                    closed, sold, moved,      before closing
                                                                                                                    or transferred            or transfer

 18.1
                                                          XXXX–                        ❑ Checking
        Name
                                                                                       ❑ Savings
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
        Street


                                                                                       ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 10
Debtor            Flame LLC                                                                                        Case number (if known)
                  Name

 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ❑ None
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?


                                                                                                       Electronics and office supplies
                                                                                                                                                  ❑ No
         Name
                                                                                                                                                  ✔ Yes
                                                                                                                                                  ❑
         2110 136th Ave E
         Street


                                                           Address
         Sumner, WA 98390
         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 11
Debtor         Flame LLC                                                                                    Case number (if known)
               Name
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                 Street




                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 12
Debtor            Flame LLC                                                                                  Case number (if known)
                  Name

           Business name and address                 Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.1.
                                                                                                              EIN:          –
          Name
                                                                                                               Dates business existed

          Street
                                                                                                              From                 To



          City                State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
            Name and address                                                                                    Dates of service

 26a.1. Harjinder Kaler, Kaler Tax & Accounts LLC
                                                                                                               From                   To
           Name
           10618 SE 240th St 204
           Street



           98031
           City                                          State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                    Dates of service

 26b.1.
                                                                                                               From                   To
           Name


           Street




           City                                          State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                          State                  ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
         ❑None


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
Debtor           Flame LLC                                                                                    Case number (if known)
                 Name

           Name and address

 26d.1. ReadyCap Lending LLC
          Name
          200 Connell Drive
          Street



          Berkeley Heights, NJ 07922
          City                                              State                  ZIP Code

           Name and address

 26d.2. Navigators Insurance
          Name
          2721 4th Ave
          Street



          Seattle, WA 98121
          City                                              State                  ZIP Code

           Name and address

 26d.3. Western Insurance
          Name
          608 N Maple St.
          Street



          Spokane, WA 99201
          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.

         Name


         Street




         City                                       State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Pannu, Karandeep                30359 111th Court SE Auburn, WA 98092                         CEO/President, Akaal                              0.00%
                                                                                                       Group LLC ownes Flame
                                                                                                       LLC, Mr. Pannu is 100%
                                                                                                       owner of Akaal Group LLC.




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 14
Debtor          Flame LLC                                                                                         Case number (if known)
                Name
 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                             Address                                                      Position and nature of any         Period during which
                                                                                                        interest                           position or interest was
                                                                                                                                           held

                                                                                                    ,                                       From
                                                                                                                                            To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                        Amount of money or description              Dates                   Reason for providing
                                                                               and value of property                                               the value


 30.1.
         Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                                   EIN:          –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                                   EIN:          –



 Part 14: Signature and Declaration




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 15
Debtor      Flame LLC                                                                                           Case number (if known)
            Name


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on         09/25/2024
                     MM/ DD/ YYYY




    ✘ /s/ Karandeep Pannu                                                Printed name                   Karandeep Pannu
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor          CEO/President



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 16
B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                             Western District of Washington

In re        Flame LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $5,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        09/25/2024                                             /s/ Joy Lee Barnhart
                Date                                         Joy Lee Barnhart
                                                             Signature of Attorney
                                                                                                Bar Number: 12250
                                                                                     Law Office of Joy Lee Barnhart
                                                                                              15 S. Grady Way 535
                                                                                                 Renton, WA 98057
                                                                                            Phone: (425) 255-5535

                                                                      Law Office of Joy Lee Barnhart
                                                            Name of law firm




                                                                 Page 2 of 2
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: Flame LLC                                                                      CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     09/25/2024             Signature                              /s/ Karandeep Pannu
                                                                    Karandeep Pannu, CEO/President
Alliance Funding
Bankruptcy Dept
17542 E 17th St Ste 200
Tustin, CA 92780



American Express
Attn: Bankruptcy Dept
200 Vesey St
New York, NY 10285-1000



Amur Equipment Finance
304 W. 3rd St
Grand Island, NE 68801




Bank of America
Attn: Bankruptcy Dept
100 North Tryon Street
Charlotte, NC 28255



Benjamin Kelly
9218 Roosevelt Way NE
Seattle, WA 98115




BMO Bank N.A.
Attn: Bankruptcy Dept
320 S Canal St
Chicago, IL 60606



Comdata
5301 Maryland Way
Brentwood, TN 37027




Corporation Service Company,
Representing Alliance Funding Group
P.O. 2576
Springfield, IL 62703
Crossroads Finance
9385 Haven Avenue
Rancho Cucamonga, CA 91730




CT Corporations System
Attn: SPRS
330 N Brand Blvd 700
90203



David B Schumacher
Attorney at Law
3519 NE 15th Ave, Ste 142
Portland, OR 97212



First Corporate Solutions
As Representative for
Unknown Creditor
914 S Street
Sacramento, CA 95811


IRS
Centralized Insolvency Op
Po Box 7346
Philadelphia, PA 19101-7346



JP Morgan Chase Bank
Attn: Bankruptcy Department
270 Park Ave
New York, NY 10017-2014



Key Bank N.A.
Mail Code OH-01-51-0562
4910 Tiedeman Rd
Brooklyn, OH 44144



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98104



Manvir Kaur
30359 11th Court SE
Auburn, WA 98092




Midland State Bank
5403 Olupic Dr NW #200
Gig Harbor, WA 98335




MV Industrial LLC
26250 – 238th Lane SE 101
Maple Valley, WA 98038




Paccar
DEPT 1166
PO Box 121166
Dallas, TX 75312-1166



Karandeep Pannu
30359 111th Court SE
Auburn, WA 98092




Pawnee Leasing Corporation
3801 Automation Way Unit 207
Fort Collins, CO 80525




PNC Equipment Finance
655 Business Center Drive Suite 250
Horsham, PA 19044
ReadyCap Lending LLC
200 Connell Drive 4000
Berkeley Heigts, NJ 07922




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